











Opinion issued April 10, 2003












In The
Court of Appeals
For the
First District of Texas
____________

NO. 01-99-00140-CR
____________

DANIEL LOUIS BEAL, Appellant

V.

THE STATE OF TEXAS, Appellee




On Appeal from the 351st District Court
Harris County, Texas
Trial Court Cause No. 787593




SUPPLEMENTAL OPINION ON REMAND
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;A jury found appellant guilty of possession of a controlled substance with the intent
to deliver and made a finding that appellant used a deadly weapon.  The trial court found an
enhancement paragraph based on an aggravated robbery true and assessed punishment at
confinement for 40 years.  On appeal, appellant challenged the trial court’s finding of true
to the enhancement paragraph, claiming that the conviction alleged in the paragraph was not
final before the commission of the offense charged in this case.  We affirmed, holding that,
for enhancement purposes, when the appellate court issues a mandate affirming the trial
court’s judgment, the date to be used in determining the finality of the trial court’s judgment
is the date the trial court’s judgment was signed, not the date of the appellate court’s
mandate.  In so holding, we relied on Rener v. State, 416 S.W.2d 812, 814 (Tex. Crim. App.
1967), and Caballero v. State, 725 S.W.2d 776, 778 (Tex. App.—Houston [1st Dist.] 1987,
pet. ref’d). 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;On petition for discretionary review, the Court of Criminal Appeals reversed our
judgment, holding that an appealed, prior conviction alleged in an indictment for
enhancement purposes becomes final when the appellate court issues its mandate affirming
the conviction.  In reaching its decision, the court followed Jones v. State, 711 S.W.2d 634
(Tex. Crim. App. 1986), and Arbuckle v. State, 105 S.W.2d 219 (Tex. Crim. App. 1937), and
overruled Rener v. State, 416 S.W.2d 812 (Tex. Crim. App. 1967).  See Beal v. State, No.
0519-01 (Tex. Crim. App. Dec. 18, 2002) (designated for publication).  The court remanded
the case to this Court for further proceedings.  We now reconsider appellant’s enhancement
issues. 
Enhancement Conviction Finality
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;In points of error 11 and 12, appellant argues that the evidence is legally insufficient
to support a finding of true to the enhancement paragraph and that the trial court erred in
finding the enhancement paragraph true because the conviction alleged in the paragraph was
not final before the commission of this offense.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Appellant was charged with the offense at issue, possession with intent to deliver, on
July 7, 1998.  The indictment contained an enhancement paragraph alleging a prior
conviction for aggravated robbery.  The Fourteenth Court of Appeals issued mandate
affirming that conviction on August 6, 1998.  Therefore, the conviction was not final before
the commission of the primary offense, there is no evidence to support a finding of true to
the enhancement paragraph, and the trial court erred in finding the enhancement paragraph
true.  See Beal, No. 0519-01.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Accordingly, we reverse the judgment of the trial court as it relates only to punishment
and remand the cause to the trial court for a new punishment hearing.  Tex. Code Crim. P.
Ann. 44.29(b) (Vernon Supp. 2003).  In all other respects, our opinion issued July 27, 2000
remains unchanged.


 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The clerk of this Court is directed to issue mandate immediately.  Tex. R. App. P.
18.1(c).
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Sam Nuchia
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Justice
Panel consists of Chief Justice Radack and Justices Nuchia, and Hanks. 

Publish.  Tex. R. App. P. 47.2(b). 


